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202.962.9280

November 30, 2010

The Honorable Thomas J. Perrelli

Office of the Associate Attorney General
U.S. Department of Justice

950 Pennsylvania Avenue, NW
Washington, DC 20530

Dear Mr. Perrelli:

I thank you for your letter of November 19 urging that I make important changes and
improvements to the enclosed Gulf Coast Claims Facility Protocol for Interim and Final Claims
(“the Final Protocol”). I have carefully reviewed the suggestions made in your November 19
letter and have adopted certain of your suggestions. I do hope that the Department of Justice will
find the Final Protocol acceptable. I have done my best in considering proposed changes made

_ by your office and others. et eee et

In particular, I note the following:

1) Interim payments for past damages will be made on a quarterly basis; the vast volume
of claims makes this necessary. However, in certain cases, where “exigent
circumstances” are found to exist, such interim payments may be accelerated and paid
monthly. The Department has requested this addition.

2) The enclosed Final Protocol continues to reference “proximate cause.” I do not
believe that the Final Protocol, and the language about “proximate cause,” restricts
the scope of OPA in any way. Indeed, I believe that the GCCF will prove to be much
more generous than either the Coast Guard or the courts in determining claimant
eligibility and appropriate documented damage under OPA. In this regard, I refer you
to the enclosed Memorandum of Law prepared by Professor John Goldberg of the
Harvard Law School who, at my request, has prepared this comprehensive
Memorandum focusing on this very issue. This Memorandum was prepared
independently and without the input of anybody at the GCCF. It confirms my view
that the GCCF will find eligibility, and calculate damages, much more generously
than required by OPA.

3) Ihave modified the proposed release language in the Final Protocol to clarify an
mummmemmemmmmmee, wuportant point made in your letter. A claimant who signs a release in conjunction
EXHIBIT B with payment of an OPA claim, will not be required to release his/her claim for

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physical injury, including “behavioral health claims.” (Ifa claimant does receive
payment for a physical injury claim, however, the release will include all bodily
injuries including those for behavioral health.)

4) Ihave inserted a limited appeals process for dissatisfied claimants and/or BP. As you
know, such a separate appeals process is not required by OPA and was originally my
idea, not that of the Federal Administration (as you know, any dissatisfied GCCF
claimant already has the option, under OPA, of “appealing” to the Coast Guard or the
courts). ] am concerned that a new layer of appeals not be used further to delay
prompt payment to eligible claimants, Thus, my decision to limit the additional
appeals process to only certain claims. You will note that I will not choose the judges
who will administer the appeals process,

5) I reiterate that individuals who participated in the Vessels of Opportunity Program
during the period when BP pledged in writing not to use such payments as offsets,
will not see their GCCF payments offset.

Mr. Perrelli, quite apart from the specific points you mention in your letter, you also raise
constructive criticisms concerning “the pace of the claims process” and the need for “additional
transparency”, I agree with you and acknowledge that the GCCF must do better in these two _

Again, I thank you for your constructive criticism,

Sin¢erely,
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Kenneth R. Feinberg
Administrator
Gulf Coast Claims Facility

KRF:shs

Enclosure: GCCF Protocol for Interim and Final Claims
Professor Goldberg’s Memorandum of Law
